              Case 23-11069-CTG   Doc 360-2   Filed 08/29/23   Page 1 of 12




                                      Exhibit A

                                   Proposed Order




DOCS_DE:244494.1 96859/001
                 Case 23-11069-CTG             Doc 360-2        Filed 08/29/23         Page 2 of 12




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                     )
    In re:                                                           )     Chapter 11
                                                                     )
    YELLOW CORPORATION, et al.,1                                     )     Case No. 23-11069 (CTG)
                                                                     )
                             Debtors.                                )     (Jointly Administered)
                                                                     )

                 ORDER APPROVING PROCEDURES FOR DE MINIMIS ASSET
                TRANSACTIONS AND ABANDONMENT OF DE MINIMIS ASSETS

             Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”) for entry of an order (this “Order”) approving expedited procedures:

(a) to use, sell, or transfer certain assets, collections of assets, or business lines, including any

rights or interests therein (collectively, the “De Minimis Assets”) in any individual transaction or

series of related transactions (each, a “De Minimis Asset Transaction”) to a single buyer or group

of related buyers with an aggregate sale price equal to or less than $5 million as calculated within

the Debtors’ reasonable discretion, free and clear of all liens, claims, interests, and encumbrances

(collectively, the “Liens”), without the need for further Court approval and with Liens attaching

to the proceeds of such use, sale, or transfer with the same validity, extent, and priority as had

attached to the De Minimis Assets immediately prior to the use, sale, or transfer; (b) abandon a

De Minimis Asset to the extent the cost of continuing to maintain, relocate, and/or store such

De Minimis Assets outweighs any potential recovery from a future sale, as determined by the

Debtors in exercise of their reasonable business judgment; (c) to pay those reasonable and



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal
      place of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400,
      Overland Park, Kansas 66211.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG          Doc 360-2       Filed 08/29/23      Page 3 of 12




necessary fees and expenses (if any) incurred in connection with the use, sale, transfer, or

abandonment of De Minimis Assets, including, but not limited to, commission fees to agents,

brokers, auctioneers, and liquidators with the amount of proposed commission fees to be paid to

be disclosed in the Transaction Notice (as defined herein); and (d) granting related relief, all as

more fully set forth in the Motion; and upon the First Day Declaration; and the district court having

jurisdiction under 28 U.S.C. § 1334, which was referred to this Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and this Court having found that this Court may

enter a final order consistent with Article III of the United States Constitution; and this Court

having found that venue of this proceeding and the Motion in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief requested in the Motion

is in the best interests of the Debtors’ estates, their creditors, and other parties in interest; and this

Court having found that the Debtors’ notice of the Motion and opportunity for a hearing on the

Motion were appropriate and no other notice need be provided; and this Court having reviewed

the Motion and having heard the statements in support of the relief requested therein at a hearing

before this Court (the “Hearing”); and this Court having determined that the legal and factual bases

set forth in the Motion and at the Hearing establish just cause for the relief granted herein; and

upon all of the proceedings had before this Court; and after due deliberation and sufficient cause

appearing therefor, it is HEREBY ORDERED THAT:

        1.       The Motion is granted on a final basis as set forth herein.

        2.       Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are authorized to

use, sell, swap, or transfer De Minimis Assets outside the ordinary course of business, without



                                                    2
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG              Doc 360-2      Filed 08/29/23      Page 4 of 12




further order of the Court in accordance with the following De Minimis Asset Transaction

Procedures:

                 a.          With regard to the uses, sales, investments, or transfers of De Minimis
                             Assets in any individual transaction or series of related transactions to or
                             from a single buyer or seller or group of related buyers or sellers with a total
                             transaction value as calculated within the Debtors’ reasonable discretion,
                             less than or equal to $5 million:

                             i.     the Debtors are authorized to consummate such transactions if the
                                    Debtors determine in the reasonable exercise of their business
                                    judgment and after consultation with the Committee, the Junior DIP
                                    Lender, the B-2 Lenders, the Prepetition ABL Agent, and the United
                                    States Department of the Treasury (collectively, the “Consultation
                                    Parties”) that such transactions are in the best interest of the estates,
                                    without further order of the Court, subject to the procedures set forth
                                    herein;

                             ii.    any such transactions shall be, without need for any action by any
                                    party, final and fully authorized by the Court and may be, as
                                    provided in the documentation governing the applicable transaction,
                                    final and free and clear of all Liens with such Liens attaching only
                                    to the proceeds of such transactions with the same validity, extent,
                                    and priority as immediately prior to the transaction;

                             iii.   the Debtors shall give written notice of such transaction
                                    substantially in the form attached to the Motion as Exhibit B (each
                                    notice, a “Transaction Notice”) to (a) the U.S. Trustee; (b) the
                                    Committee and Akin Gump Strauss Hauer & Feld LLP as proposed
                                    counsel to the Committee; (c) the office of the attorney general for
                                    each of the states in which the Debtors operate; (d) United States
                                    Attorney’s Office for the District of Delaware; (e) the Internal
                                    Revenue Service; (f) the United States Securities and Exchange
                                    Commission; (g) the Junior DIP Lender and counsel thereto; (h) the
                                    Junior DIP Agent and counsel thereto; (i) White & Case LLP, as
                                    counsel to the B-2 Lenders; (j) the Prepetition ABL Agent and
                                    counsel thereto; (k) the B-2 Agent and counsel thereto; (l) the
                                    Prepetition UST Tranche A Agent and counsel thereto; (m) the
                                    Prepetition UST Tranche B Agent and counsel thereto; (n) the
                                    United States Department of Justice and Arnold & Porter Kaye
                                    Scholer LLP as counsel to the United States Department of the
                                    Treasury; and (o) any known affected creditor(s) (including their
                                    counsel, if known) asserting a Lien on the relevant De Minimis
                                    Assets, if known (each, a “Transaction Notice Party” and
                                    collectively, the “Transaction Notice Parties”), after which the


                                                        3
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG            Doc 360-2       Filed 08/29/23       Page 5 of 12




                                   Transaction Notice Parties shall have seven (7) calendar days to
                                   object to such sale (the “Initial Objection Period”);

                             iv.   the content of the notice sent to the Transaction Notice Parties for
                                   the applicable sale of De Minimis Assets shall consist of, as may be
                                   applicable and to the extent such information is readily available:
                                   (a) identification of the De Minimis Assets being used, sold, or
                                   transferred; (b) identification of the serial number and VIN for the
                                   De Minimis Assets being used, sold, or transferred;
                                   (c) identification of the Debtor entity selling the De Minimis Assets;
                                   (d) identification of the purchaser of the De Minimis Assets; (e) the
                                   purchase price; (f) the estimated book value and appraised value for
                                   the De Minimis Assets being sold or transferred as reflected in the
                                   Debtors’ books and records; (g) the marketing or sales process,
                                   including any commissions to be paid to third parties in connection
                                   with the sale, if applicable; and (h) any other significant terms of the
                                   use, sale, or transfer;3

                             v.    if the terms of a proposed sale or transfer are materially amended
                                   after transmittal of the Transaction Notice but prior to the applicable
                                   deadline of any Transaction Notice Parties’ right to object to such
                                   sale of the De Minimis Assets, the Debtors will send a revised
                                   Transaction Notice (the “Amended Transaction Notice”) to the
                                   Transaction Notice Parties, after which the Transaction Notice
                                   Parties shall have (a) the number of days remaining in the Initial
                                   Objection Period plus (b) an additional three (3) business days, to
                                   object to such sale (the “Amended Objection Period”);

                             vi.   any objections to any such transaction must (a) be in writing; (b) set
                                   forth the name of the objecting party; (c) provide the basis for the
                                   objection and the specific grounds therefor; (d) be filed
                                   electronically with the Court; and (e) be served on (i) the Debtors,
                                   Yellow Corporation, 11500 Outlook Street, Suite 400, Overland
                                   Park, Kansas 66211, Attn.: General Counsel; (ii) proposed counsel
                                   to the Debtors, (A) Kirkland & Ellis LLP, 300 North LaSalle,
                                   Chicago,      Illinois,   60654,     Attn.: Whitney        Fogelberg
                                   (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601
                                   Lexington Avenue, New York, New York 10022, Attn.: Allyson B.
                                   Smith (allyson.smith@kirkland.com) and (B) proposed co-counsel
                                   to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North
                                   Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
                                   19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P.
                                   Cairns       (tcairns@pszjlaw.com),        Peter      J.       Keane
                                   (pkeane@pszjlaw.com),            and         Edward           Corma

3
    The information may be provided in summary form or by attaching the applicable contract or contracts to the
    Transaction Notice.

                                                      4
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG              Doc 360-2      Filed 08/29/23     Page 6 of 12




                                     (ecorma@pszjlaw.com); (iii) the Office of United States Trustee for
                                     the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
                                     Wilmington, Delaware 19801, Attn.:                  Jane Leamy
                                     (jane.m.leamy@usdoj.gov)        and       Richard       Shepacarter
                                     (richard.shepacarter@usdoj.gov); and (iv) proposed counsel to the
                                     Committee, (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant
                                     Park, Bank of America Tower, New York, NY 10036-6745 US,
                                     Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.
                                     Lahaie      (mlahaie@akingump.com),        and    Kevin     Zuzolo
                                     (kzuzolo@akingump.com) and (B) proposed co-counsel to the
                                     Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313
                                     North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.:
                                     Jennifer R. Hoover (jhoover@beneschlaw.com) and Kevin M.
                                     Capuzzi (kcapuzzi@beneschlaw.com), so as to be received on or
                                     before the Initial Objection Period or the Amended Objection
                                     Period, as applicable (collectively, the “Transaction Notice
                                     Period”);

                             vii.    if no written objections are filed by the Transaction Notice Parties
                                     after the expiration of the applicable Transaction Notice Period or if
                                     such objections are withdrawn, the Debtors are authorized to
                                     consummate such transaction immediately;

                             viii.   if a written objection is received by a Transaction Notice Party
                                     within the Transaction Notice Period that cannot be resolved, the
                                     objection will be deemed a request for a hearing on the objection at
                                     the next scheduled hearing, subject to adjournment by the Debtors,
                                     and the relevant De Minimis Asset(s) shall only be sold upon
                                     withdrawal of such written objection, submission of a consensual
                                     form of order resolving the objection as between the Debtors and the
                                     objecting party, or further order of the Court specifically approving
                                     the sale or transfer of the De Minimis Asset(s); and

                             ix.     good faith purchasers of assets pursuant to these De Minimis Asset
                                     Transaction Procedures shall be entitled to the protections of section
                                     363(m) of the Bankruptcy Code.

        3.       Pursuant to section 554(a) of the Bankruptcy Code, the Debtors are authorized to

abandon De Minimis Assets with a value of $250,000 or less (after taking into account the greater

of net book value and appraised value (to the extent readily available)) in accordance with the

following De Minimis Asset Abandonment Procedures:

                 a.          For De Minimis Assets that the Debtors believe, as calculated within the
                             Debtors’ reasonable discretion and after consultation with the Consultation

                                                       5
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG             Doc 360-2      Filed 08/29/23       Page 7 of 12




                             Parties, the cost of continuing to maintain, relocate, and/or store such
                             De Minimis Assets outweighs any potential recovery from a future sale,
                             subject to the following notice procedures:

                             i.     the Debtors shall and give written notice of the abandonment
                                    substantially in the form attached to the Motion as Exhibit C (each
                                    notice, an “Abandonment Notice”) to the Transaction Notice
                                    Parties;

                             ii.    the Abandonment Notice shall contain, as may be applicable and
                                    solely to the extent such information is readily available: (a) an
                                    identification and description of, in reasonable detail, the
                                    De Minimis Assets to be abandoned, including the estimated book
                                    value and appraised value of the assets being abandoned as reflected
                                    in the Debtors’ books and records; (b) identification of the serial
                                    number and VIN for the De Minimis Assets being abandoned;
                                    (c) the identification of the Debtor entity that directly owns the
                                    De Minimis Assets; (d) any commissions or disposal costs to be
                                    paid to third parties in connection with the abandonment thereof;
                                    (e) acquisition cost and date; (f) the Debtors’ reasons for such
                                    abandonment; and (g) any fees or similar expenses to be paid in
                                    connection with such abandonment, if applicable;4

                             iii.   any objections to the abandonment of any De Minimis Asset must:
                                    (a) be in writing; (b) set forth the name of the objecting party;
                                    (c) provide the basis for the objection and the specific grounds
                                    therefor; (d) be filed electronically with the Court; and (e) be served
                                    on (i) the Debtors, Yellow Corporation, 11500 Outlook Street, Suite
                                    400, Overland Park, Kansas 66211, Attn.: General Counsel;
                                    (ii) proposed counsel to the Debtors, (A) Kirkland & Ellis LLP, 300
                                    North LaSalle, Chicago, Illinois, 60654, Attn.: Whitney Fogelberg
                                    (whitney.fogelberg@kirkland.com) and Kirkland & Ellis LLP, 601
                                    Lexington Avenue, New York, New York 10022, Attn.: Allyson B.
                                    Smith (allyson.smith@kirkland.com) and (B) proposed co-counsel
                                    to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North
                                    Market Street, 17th Floor, PO Box 8705, Wilmington, Delaware
                                    19801, Attn: Laura Davis Jones (ljones@pszjlaw.com), Timothy P.
                                    Cairns        (tcairns@pszjlaw.com),         Peter       J.      Keane
                                    (pkeane@pszjlaw.com),              and          Edward           Corma
                                    (ecorma@pszjlaw.com); (iii) the Office of United States Trustee for
                                    the District of Delaware, 844 King Street, Suite 2207, Lockbox 35,
                                    Wilmington, Delaware 19801, Attn.:                      Jane Leamy
                                    (jane.m.leamy@usdoj.gov)            and      Richard        Shepacarter
                                    (richard.shepacarter@usdoj.gov); and (iv) proposed counsel to the

4
    The information may be provided in summary form or by attaching the applicable contract or contracts to the
    Abandonment Notice.

                                                       6
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG            Doc 360-2      Filed 08/29/23       Page 8 of 12




                                   Committee, (A) Akin Gump Strauss Hauer & Feld LLP, One Bryant
                                   Park, Bank of America Tower, New York, NY 10036-6745 US,
                                   Attn.: Philip C. Dublin (pdublin@akingump.com), Meredith A.
                                   Lahaie     (mlahaie@akingump.com),     and    Kevin    Zuzolo
                                   (kzuzolo@akingump.com) and (B) proposed co-counsel to the
                                   Committee, Benesch Friedlander Coplan & Aronoff LLP, 1313
                                   North Market Street, Suite 1201, Wilmington, DE, 19801, Attn.:
                                   Jennifer R. Hoover (jhoover@beneschlaw.com) and Kevin M.
                                   Capuzzi (kcapuzzi@beneschlaw.com), so as to be received on or
                                   before 4:00 p.m., prevailing Eastern Time on the seventh (7th)
                                   calendar day after receipt of such Abandonment Notice
                                   (the “Abandonment Objection Deadline”);

                             iv.   if no written objections from any of the Transaction Notice Parties
                                   are filed with the Court on or before the Abandonment Objection
                                   Deadline, then the Debtors are authorized to immediately proceed
                                   with the abandonment; and

                             v.    if a written objection from any Transaction Notice Party is filed with
                                   the Court on or before the Abandonment Objection Deadline, the
                                   objection will be deemed a request for a hearing on the objection at
                                   the next scheduled hearing, subject to adjournment by the Debtors,
                                   and the relevant De Minimis Asset(s) shall only be abandoned upon
                                   withdrawal of such written objection, submission of a consensual
                                   form of order resolving the objection as between the Debtors, or
                                   further order of the Court specifically approving the abandonment
                                   or transfer of the De Minimis Asset(s).

        4.       Sales to “insiders,” as that term is defined in section 101(31) of the Bankruptcy

Code, are excluded from this Order.

        5.       The De Minimis Assets shall not include, without the prior approval of the

Consultation Parties, (i) any owned or leased real estate or (ii) any owned or leased vehicles,

tractors, trucks, trailers, tank trailer and other trailers, or similar vehicles and trailers, railroad cars,

locomotives, stacktrains, and other rolling stock (the “Rolling Stock”); provided that the

De Minimis Assets may include damaged or obsolete Rolling Stock that is to be sold as scrap and

that Rolling Stock does not include accessories (including superstructures and racks), fork lifts,

pallet jacks, dollies, or other such equipment.



                                                     7
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG         Doc 360-2      Filed 08/29/23     Page 9 of 12




        6.       The De Minimis Asset Transaction Procedures shall not apply to any De Minimis

Assets in which the Debtors have any joint ownership interest with a non-Debtor party.

        7.       The De Minimis Asset Transaction Procedures shall not apply to any transaction

that involves the assumption or the assumption and assignment of (a) executory contracts,

(b) unexpired leases of personal property, or (c) unexpired leases of nonresidential real property

for which a Debtor is not the landlord pursuant to section 365 of the Bankruptcy Code.

        8.       Notwithstanding anything to the contrary in this Order or the De Minimis Asset

Transaction Procedures, none of the Debtors’ insurance policies and/or any related agreements

shall be sold, assigned, or otherwise transferred pursuant to any De Minimis Asset Transaction

except in compliance with the terms of such insurance policies, any related agreements, and/or

applicable nonbankruptcy law.

        9.       Any party that does not timely object to the relief requested in the Motion and does

not timely object to the sale or transfer of De Minimis Assets in accordance with the terms of this

Order shall be deemed to “consent” to such use, sale, or transfer within the meaning of section

363(f)(2) of the Bankruptcy Code.

        10.      Sales and transfers of De Minimis Assets are, without need for any action by any

party, free and clear of all Liens, with such Liens attaching to the proceeds of such sale or transfer

with the same validity, extent, and priority as had attached to such De Minimis Assets immediately

prior to such sale or transfer. The holder of any valid lien, claim, encumbrance, or interest on such

De Minimis Assets shall, as of the effective date of such sale or transfer, be deemed to have waived

and released such lien, claim, encumbrance, or interest, without regard to whether such holder has

executed or filed any applicable release, and such lien, claim, encumbrance, or interest shall

automatically, and with no further action by any party, attach to the proceeds of such sale.



                                                  8
DOCS_DE:244494.1 96859/001
                Case 23-11069-CTG       Doc 360-2      Filed 08/29/23    Page 10 of 12




Notwithstanding the foregoing, any such holder of such a lien, claim, encumbrance, or interest is

authorized and directed to execute and deliver any waivers, releases, or other related

documentation, as reasonably requested by the Debtors.

          11.     Sales of De Minimis Assets shall be deemed arm’s-length transactions entitled to

the protections of section 363(m) of the Bankruptcy Code and purchasers and transferees of

De Minimis Assets are entitled to the protections afforded to good-faith purchasers under section

363(m) of the Bankruptcy Code.

          12.     The Debtors shall provide a written report to the Court, the United States Trustee,

counsel to the Junior DIP Lender, counsel to the Junior DIP Agent, counsel to the United States

Department of the Treasury, counsel to the B-2 Lenders, counsel to the ABL Agent, counsel to the

Committee, and those parties requesting notice pursuant to Bankruptcy Rule 2002, no later than

30 days after the end of each calendar month, concerning any De Minimis Asset Transactions

consummated during the preceding calendar month pursuant hereto, including the names of the

purchasing parties and the types and amounts of the transactions, and any De Minimis Assets

abandoned during the preceding calendar month pursuant hereto.

          13.     The Transaction Notice with regard to the sale or transfer of De Minimis Assets

substantially in the form attached to the Motion as Exhibit B, is hereby authorized and approved.

          14.     The Abandonment Notice with regard to the abandonment of De Minimis Assets

substantially in the form attached to the Motion as Exhibit C, is hereby authorized and approved.

          15.     Service of the Transaction Notice and Abandonment Notice, as applicable, is

sufficient notice of the use, sale, transfer, or abandonment, as applicable, of such De Minimis

Assets.




                                                   9
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG        Doc 360-2       Filed 08/29/23     Page 11 of 12




        16.      With respect to all sale transactions consummated pursuant to this Order, this Order

shall be sole and sufficient evidence of the transfer of title to any particular buyer, and the sale

transactions consummated pursuant to this Order shall be binding upon and shall govern the acts

of all persons and entities who may be required by operation of law, the duties of their office, or

contract to accept, file, register, or otherwise record or release any documents or instruments, or

who may be required to report or insure any title or state of title in or to any of the property sold

pursuant to this Order, including without limitation, all filing agents, filing officers, title agents,

title companies, recorders of mortgages, recorders of deeds, administrative agencies, governmental

departments, secretaries of state and federal, state, and local officials, and each of such persons

and entities is hereby directed to accept this Order as sole and sufficient evidence of such transfer

of title and shall rely upon this Order in consummating the transactions contemplated hereby.

        17.      The Debtors are authorized to pay those reasonable and necessary fees and

expenses incurred in the use, sale, transfer, or abandonment of De Minimis Assets, including

commission fees to agents, brokers, auctioneers, and liquidators.

        18.      Notwithstanding anything to the contrary in this Order, any payment made, or

authorization contained, hereunder, shall be subject to the “Approved Budget” as defined in the

order of the Court approving the debtor-in-possession financing in these chapter 11 cases.

        19.      Nothing contained herein shall prejudice the rights of the Debtors to seek

authorization for the use, sale, or transfer of any asset under section 363 of the Bankruptcy Code.

        20.      Notice of the Motion satisfies the requirements of Bankruptcy Rule 6004(a).

        21.      Notwithstanding Bankruptcy Rule 6004(h), the terms and conditions of this Order

are immediately effective and enforceable upon its entry.




                                                  10
DOCS_DE:244494.1 96859/001
              Case 23-11069-CTG         Doc 360-2      Filed 08/29/23     Page 12 of 12




        22.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

        23.      The Court retains jurisdiction with respect to all matters arising from or related to

the implementation, interpretation, and enforcement of this Order.




                                                  11
DOCS_DE:244494.1 96859/001
